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   9                            UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
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  11
  12    Orland Sylve,                              Case No. 2:19-CV-08980-PSG-AFM
  13
         Plaintiff,                                Plaintiff’s Notice of Motion and
  14                                               Motion to Reopen Case
            v.
  15                                               Date:        September 7, 2020
        ABP Hotel, LLC, a California               Time:        1:30 p.m.
  16
        Limited Liability Company; and             Ctrm:        6A (66h Floor)
  17    Does 1-10,
                                                   Hon. Philip S. Gutierrez
  18
                      Defendants.
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  21             Please take notice that on September 7, 2020 at 1:30 pm at the
  22   United States Courthouse located at 350 W. First Street, Los Angeles, CA
  23   90012, in courtroom 6A, Plaintiff Orlando Sylve will, and hereby does,
  24   move this Court to order the above captioned matter be reopened and
  25   returned to the active calendar.
  26
                 Plaintiff hereby moves this court to reopen the above captioned case
  27
       pursuant to the court’s minute order dated June 10, 2020 as well as under
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   1   the authority of Federal Rule of Civil Procedure 60(b)(6). The matter was
   2   provisionally settled on March 31, 2020. However, despite multiple
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       attempts, and diligent action by the plaintiff, settlement has not been
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       consummated and the deadline to reopen the case has passed. Thus,
   5
       Plaintiff moves to have this case reopened and returned to the active
   6
       calendar so that Plaintiff may prosecute his case and avoid what would
   7
       otherwise be a manifest injustice.
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   9          This Motion is supported by the Declaration of Amanda Seabock, the

  10   exhibits attached thereto, the Memorandum of Points and Authorities, and
  11   oral argument, if any.
  12          This motion is made following attempts to confer with defense
  13   counsel as required by Local Rule 7-3, including leaving voicemail
  14   messages and emails, but no cooperation or response has been provided.
  15
  16
       Dated: July 21, 2020                  CENTER FOR DISABILITY ACCESS
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                                                 By: /s/ Amanda Seabock
  18                                                Amanda Seabock
                                                    Attorney for Plaintiff
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       AFM
